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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X              04/07/2022
                                                                       :
GREGORY SHEINDLIN,                                                     :
                                                                       :
                                    Plaintiff,                         :
                                                                       :   21-cv-1124 (LJL)
                  -v-                                                  :
                                                                       :       OPINION
JAMES BRADY,                                                           :
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X
LEWIS J. LIMAN, United States District Judge:

        Plaintiff Gregory Sheindlin (“Sheindlin” or “Plaintiff”) brings three causes of action for

defamation against James Brady (“Brady” or “Defendant”). Dkt. No. 1. The parties filed

competing motions for summary judgment on Sheindlin’s claims. See Dkt. Nos. 123, 128. On

March 31, 2022, the Court issued an Order in which Brady’s motion for summary judgment was

granted in part and denied in part, Sheindlin’s motion for summary judgment was denied, and a

telephonic case management conference was scheduled. Dkt. No. 155. The Court stated that its

reasons would be set forth in an Opinion to follow. Id. This Opinion sets forth the reasons for

the Court’s decision.

                                               BACKGROUND

        The following facts are undisputed for purposes of summary judgment except as

otherwise indicated.

        This lawsuit relates to a state court lawsuit brought by IGS Realty Co., L.P. (“IGS

Realty”) against Brady as the guarantor of unpaid rent for commercial spaces leased by

companies owned by Brady. See IGS Realty Co., L.P. v. Brady, Index No. 603561/2009 (N.Y.

Sup. Ct.). On June 26, 2015, a jury rendered a verdict in favor of IGS Realty and against Brady.
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Dkt. No. 131-14 ¶ 14. The jury unanimously found for IGS on its claim of breach of contract

and against Brady on his claims that IGS had breached the implied warranty that the premises

were fit for the uses stated in the lease and that IGS Realty fraudulently induced him to sign the

leases and guarantees.

       After Brady appealed, the New York state courts affirmed the jury verdict. On April 13,

2017, the Appellate Division, First Department, affirmed the Supreme Court’s denial of Brady’s

motion to set aside the jury verdict. Id. ¶ 18; see IGS Realty Co., L.P. v. Brady, 52 N.Y.S.3d 320

(1st Dep’t 2017). On June 7, 2018, the Appellate Division, First Department, denied Brady’s

motion that attacked the verdict. Dkt. No. 131-14 ¶ 19; see IGS Realty Co., L.P. v. Brady, 74

N.Y.S.3d 747 (1st Dep’t 2018). On October 23, 2018, the New York State Court of Appeals

rejected Brady’s motion for re-argument and denied his application for leave to appeal. Dkt. No.

131-14 ¶ 20; see IGS Realty Co., L.P. v. Brady, 113 N.E.3d 464 (N.Y. 2018).

       Meanwhile, on July 29, 2016, IGS Realty retained Sheindlin to represent it at a hearing to

settle the judgment and determine attorneys’ fees due from Brady. Dkt. No. 131-14 ¶¶ 2, 16. On

May 31, 2017, IGS Realty, represented by Sheindlin, filed judgment against Brady in the amount

of $1,458,002.33. Id. ¶ 17. On October 27, 2017, IGS Realty filed a petition to enforce the

judgment. Id. ¶ 21. On May 23, 2018, the state court issued an order directing Brady to turn

over the shares and proprietary leases in his commercial cooperative units and directing that a

public action be conducted and that the sale proceeds be distributed to satisfy any judgment

debtor or lien holder. Id. ¶ 23. On September 5, 2018, prior to the public auction, Brady sold his

commercial cooperative apartment for approximately $9.5 million. Id. ¶ 24. Each of the

judgment debtors were paid from the process of this sale at the closing. Id. ¶ 25. Pursuant to a




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court order, IGS Realty collected $1,705,535.71 to satisfy the judgment. Id. ¶¶ 3, 26. On

September 19, 2018, a satisfaction of judgment was filed in the state-court action. Id. ¶ 28.

        Meanwhile, Brady initiated a series of pro se actions stemming from the adverse state-

court decision in the IGS Realty matter. 1 On September 17, 2018, Brady sued Geoffrey Berman

(“Berman”), United States Attorney for the Southern District of New York, bringing claims

pursuant to the Due Process Clause, the Equal Protection Clause, two criminal statutes, and the

Freedom of Information Act. See Brady v. Berman, 2019 WL 4534421, at *1 (S.D.N.Y. Sept.

18, 2019); see also Brady v. Berman, 18-cv-8459 (S.D.N.Y.), ECF No. 1. In part, Brady sought

an injunction compelling Berman to protect him from the consequences of the IGS Realty

litigation, which Brady characterized as “crimes.” Brady v. Berman, 2019 WL 4534421, at *1.

The court dismissed the claims in part because Brady lacked standing to challenge a prosecutor’s

failure to investigate or to prosecute other individuals. Id. at *2.

        On July 30, 2019, Brady sued Barry R. Ostrager, a Justice of the New York Supreme

Court, alleging that Justice Ostrager violated Brady’s constitutional rights as the presiding judge

in the IGS Realty matter. See Brady v. Ostrager, 19-cv-7122 (S.D.N.Y.), ECF No. 2; see also

id., ECF No. 6. Brady alleged “that the judge refused to adjudicate certain issues, had no

jurisdiction to preside over [Brady’s] 2015 trial, colluded with the landlord’s attorney during

trial, fabricated a jury charge, had no jurisdiction to hear [Brady’s] case and colluded with higher

court judges.” Brady v. Ostrager, 19-cv-7122 (S.D.N.Y.), ECF No. 6, at 2. He also alleged that

Justice Ostrager retaliated against him for maintaining a website “which provides a documentary




1
  The Court considers publicly available dockets and filings in prior legal proceedings because
“courts routinely take judicial notice of documents filed in other courts, . . . not for the truth of
the matters asserted in the other litigation, but rather to establish the fact of such litigation and
related filings.” Kramer v. Time Warner Inc., 937 F.2d 767, 774 (2d Cir. 1991).


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history of corruption in the New York Court System” and for making numerous YouTube videos

“in which he discusses the collusion between judges and politicians, and the consequences for

the judiciary.” Id. On August 20, 2019, the complaint was dismissed as barred by judicial

immunity and the Rooker-Feldman doctrine. 2 Id. at 6; see also Brady v. Ostrager, 834 F. App’x

616, 617 (2d Cir. 2020) (summary order) (affirming district court’s dismissal of the complaint).

       On October 31, 2019, Brady sued IGS Realty and another individual, bringing claims,

inter alia, of fraud, breach of contract, negligence, and a conspiracy to interfere with civil rights

in violation of 42 U.S.C. § 1985 based on the IGS Realty matter in state court. See Brady v. IGS

Realty Co. L.P., 19-cv-10142 (S.D.N.Y.), ECF No. 1; Brady v. IGS Realty Co. L.P., 2020 WL

5414683, at *1 (S.D.N.Y. Sept. 8, 2020).

       On August 13, 2020, Brady posted three videos on YouTube that were titled “Video #1:

Judge Judy’s son Gregory Sheindlin stealing over $1.7 million dollars on September 5, 2018”;

“Video #2: Judge Judy’s son Gregory Sheindlin stealing over $1.7 million dollars on September

5, 2018”; and “Video #3: Judge Judy’s son Gregory Sheindlin stealing over $1.7 million dollars

on September 5, 2018.” Dkt. No. 131-14 ¶¶ 6, 55; see also Dkt. No. 130 (“Sheindlin Decl.”),

Exs. 1–3. The videos were posted with public visibility. Dkt. No. 131-14 ¶¶ 54–55. Viewers

posted negative comments about Sheindlin in response to the video, and Brady replied to many

of these comments on an ongoing basis. Id. ¶ 56. For example, he posted the following replies

to comments posted under the videos:

       Justice requires Gregory Sheindlin to serve a long prison sentence and lose his law
       license so he can never inflict fraud schemes again.



2
  “The Rooker-Feldman doctrine ‘established the clear principle that federal district courts lack
jurisdiction over suits that are, in substance, appeals from state-court judgments.’” Brady v.
Sheindlin, 2021 WL 737458, at *2 (S.D.N.Y. Feb. 25, 2021) (quoting Hoblock v. Albany County
Bd. of Elections, 422 F.3d 77, 84 (2d Cir. 2005)).


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        It’s sickening that Gregory Sheindlin is such a psychopath that thought he could
        get away with this cruel scheme. 10 years minimum in prison is the medicine he
        needs.

        Gregory Sheindlin is a totally corrupt piece of [expletive] who stole over 1.7 million
        dollars from me through a fraud scheme. He will get his.

        The worst is that it has been Federal Judges as well as State Judges that Gregory
        Sheindlin has corrupted. It’s all pay to play. I have this lowlife on my hook and
        he is going to be fried. 10 or 12 years in prison will protect the public.

        Now Shady Sheindlin is going to learn ‘don’t do the crime if you can’t do the
        time[.]’

Id. ¶ 57.

        On August 30, 2020, Brady sued Sheindlin and Sheindlin’s law firm for damages he

allegedly suffered when the state court judgment in the IGS Realty matter was obtained and

enforced. See Brady v. Sheindlin, 20-cv-7047 (S.D.N.Y.), ECF No. 1; Brady v. Sheindlin, 2021

WL 737458, at *1 (S.D.N.Y. Feb. 25, 2021). The case was assigned to this Court. “The essence

of [Brady’s] claim . . . is that there were a variety of improprieties in the State Court Action of

which [Sheindlin and Sheindlin’s law firm] were aware and as a result, the Judgment should not

have been entered against him.” Brady v. Sheindlin, 2021 WL 737458, at *1.

        On September 8, 2020, Judge Engelmayer dismissed all of Brady’s claims in Brady v.

IGS Realty Co. L.P., 2020 WL 5414683, at *1 (S.D.N.Y. Sept. 8, 2020). In recounting the IGS

Realty state-court case, the court stated that “the jury found for IGS Realty on each claim” and

“found that Brady had breached his contract to IGS Realty by not paying the rent amounts owed

under his guarantees (the ‘Personal Guarantees’), and that IGS Realty had not ‘breached the

implied warranty that the premises were fit for use in the lease’ or ‘fraudulently induced [Brady]

to sign the leases and guarantees.’” Id. The court also stated that the jury “rejected Brady’s

defense to breach that IGS Realty had constructively evicted him through its own breaches of the

lease terms.” Id. In dismissing Brady’s claims that challenged the validity of the Personal


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Guarantees underlying the judgment against Brady in the state-court IGS Realty matter, the court

held that the claims were barred by the Rooker-Feldman doctrine, res judicata, and collateral

estoppel. Id. at *4.

       On October 13, 2020, about a month after dismissing Brady’s claims in Brady v. IGS

Realty, Judge Engelmayer entered a filing injunction against Brady. See Brady v. IGS Realty Co.

L.P., 2020 WL 6049649, at *5 (S.D.N.Y. Oct. 13, 2020). In determining whether to impose a

filing injunction, the court considered five factors:

       (1) the litigant’s history of litigation and in particular whether it entailed vexatious,
       harassing or duplicative lawsuits; (2) the litigant’s motive in pursuing the
       litigation, e.g., does the litigant have an objective good faith expectation of
       prevailing?; (3) whether the litigant is represented by counsel; (4) whether the
       litigant has caused needless expense to other parties or has posed an unnecessary
       burden on the courts and their personnel; and (5) whether other sanctions would be
       adequate to protect the courts and other parties.

Id. at *3 (quoting Safir v. U.S. Lines, 792 F.2d 19, 24 (2d Cir. 1986)). The court found that the

Safir factors “overwhelmingly favor the imposition of a filing injunction.” Id. The court found

that “[t]he first factor weighs heavily so.” Id. As to the first factor, the court highlighted how

Brady was already subject to a filing injunction in the District for similar conduct and how the

opinion dismissing Brady v. Ostrager warned Brady “that further vexatious or frivolous

litigation in this Court will result in an order barring [Brady] from filing any new action in this

Court without prior permission.” Id. (alteration in original) (quoting Brady v. Ostrager, 19-cv-

7122 (S.D.N.Y.), ECF No. 6 at 5). The court also noted how Brady had filed another action

concerning the IGS Lease Agreements (i.e., Brady v. Sheindlin) after the magistrate judge

recommended the imposition of a filing injunction and how Brady “has continued to file

vexatious, harassing litigation against the parties to these actions” thereby “confirm[ing] a

disturbing trend in which Brady drags parties into court whose only apparent wrong had been to

represent his adversaries in litigation.” Id. The court also found that Brady had been sanctioned


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in New York State court for “dragg[ing] more than twenty parties into court to litigate matters

that have already been determined and claims that lack any substance.” Id. at *4 (alteration in

original). In short, the court found that “[t]he instant actions, and those Brady has continued to

file in this District, therefore represent the latest chapters in a long line of vexatious, harassing,

and duplicative lawsuits.” Id. As to the second factor, the court did not find that Brady had an

objective good faith expectation of prevailing given his “scores of meritless actions in state and

federal court.” Id. The third, fourth, and fifth factors also did not disfavor a filing injunction.

Id. Accordingly, Judge Engelmayer imposed a filing injunction, which stated:

        James H. Brady is hereby enjoined from filing any new action in the Southern
        District of New York that relates in any way to the IGS Lease Agreements, the
        Personal Guarantees associated therewith, or Brady’s businesses’ occupation of
        space in IGS-owned buildings, including any actions concerning the conduct of any
        attorney, judicial officer, government official, or other third party in relation to the
        IGS Lease Agreements, or any collateral actions arising from those agreements.
        This injunction does not bar Brady from appealing any decision in this case.
        However, it should be broadly construed to bar the filing, without leave of this
        Court, of any case against any defendant that has as a factual predicate the validity
        or invalidity of the IGS Lease Agreements, Personal Guarantees, other agreements
        with IGS Realty, or any legal actions that have arisen from those transactions.

Id. at *5.

        On or about December 16, 2020, Brady emailed Sheindlin, stating: “One of my three

videos of you on youtube stealing over $1.7 million dollars from me September 5, 2018 is

getting tons of hits.” Dkt. No. 131-14 ¶ 53; Sheindlin Decl., Ex. 5. The next day, on December

17, 2020, Sheindlin emailed Brady, stating in part: “The posting of your statements in

conjunction with the videos on YouTube constitute, per se, libel and defamation. It is demanded

that you immediately remove them. As described in recent legal opinions, it has become your

habit to unjustifiably impugn the motivations and integrity of others with who [sic] you

disagree.” Dkt. No. 131-14 ¶ 58; Sheindlin Decl., Ex. 6. That same day, Brady emailed

Sheindlin, “You did exactly what I claim you did to me in the youtube videos and in my


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complaint against you. It’s sick what you did to me and the public has a right to know.” Dkt.

No. 131-14 ¶ 59; Sheindlin Decl., Ex. 6.

       On or about January 13, 2021, Brady posted an advertisement on the internet website

Craigslist to seek an attorney to represent him in Brady v. Sheindlin, 20-cv-7047 (S.D.N.Y.).

Dkt. No. 131-14 ¶ 9; Sheindlin Decl., Ex. 4. The advertisement stated:

       I am looking for a litigator to take over the case of James H Brady v Gregory
       Sheindlin 20-cv-07047 that is currently in the District Court in the Southern District
       of New York. Sheindlin is the son of Judge Judy Sheindlin. The case proves that
       Sheindlin used false instruments in a fraud scheme to collect over 1.7 million
       dollars on a personal guaranty for his client on September 5, 2018. The case has
       not broken in the news yet since it is being suppressed for this politically connected
       man but it will break very soon because the case is too scandalous to be ignored
       and over 7000 people have already learned about the case on youtube[.]

       There is currently a motion to dismiss that is expected to be denied. There is also
       currently a request to the Court that it Order that I can file a criminal complaint
       against the politically connected son of Judge Judy Sheindlin since it was already
       proven that he committed a criminal act to steal the 1.7 million dollars.

       The case can be seen on PacerMonitor. Also there are three under cover videos of
       Sheindlin from September 5, 2018 as he was stealing the money that can be seen
       on YouTube if you type in the name Gregory Sheindlin.

       It is possible that there could be a quick settlement since Sheindlin knows he is
       facing likely jail time unless I decide not to have him criminally prosecuted.

       Interested lawyers should sent [sic] information on your qualifications to
       Bradyny@gmail.com[.]

       Note Sheindlin is representing himself. I started the case myself but know its [sic]
       best to pass off soon to a lawyer that can take the case to a quick summary resolution
       and conduct possible settlement talks.

Sheindlin Decl., Ex. 4.

       On January 27, 2021, Sheindlin again emailed Brady, demanding that Brady remove his

statements from the internet. Dkt. No. 131-14 ¶ 60; Sheindlin Decl., Ex. 7.

       On January 28, 2021, Brady sent an email to forty-four people who work in the news

industry with the subject line: “VERY SAD – Third time will be the charm against Judge Judy’s


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lowlife son Gregory :(.” Dkt. No. 131-14 ¶¶ 10, 61; Sheindlin Decl., Ex. 8. In the body of the

email, Brady wrote: “LOCK HIM UP !!! The third time will be the charm.” Dkt. No. 131-14

¶ 62; Sheindlin Decl., Ex. 8. The email also attached a two-page letter dated January 28, 2021

that Brady authored and filed with this Court in Brady v. Sheindlin. Dkt. No. 131-14 ¶ 63;

Sheindlin Decl., Ex. 8; see also Brady v. Sheindlin, 20-cv-7047 (S.D.N.Y.), ECF No. 22. The

letter stated in part:

        [I]t has been proven, and is irrefutable, that Gregory Sheindlin stole my life savings
        of over $1.7 million dollars [sic] on September 5, 2018 solely by fraudulently
        representing that Question Number One on a June 26, 2015 Jury interrogatory sheet
        was a Jury finding that the personal guarantees were enforceable, and was a jury
        finding that my personal guarantee defenses were denied by the Jury when he knew
        Question Number One on the June 26, 2015 Jury interrogatories had absolutely
        nothing to do with these issues . . . .

        The above claim of irrefutable criminal activity by Gregory Sheindlin is very
        simple to FACT CHECK simply by looking at Doc. 6-3 of Plaintiff’s Amended
        Complaint of September 30, 2020. . . .

        For a third time, I am pleading that without fear or favor this politically connected
        man be promptly held accountable for his irrefutable destructive criminal acts.

Dkt. No. 131-14 ¶ 63; Sheindlin Decl., Ex. 8.

        On February 3, 2021, Brady emailed Sheindlin, stating in part: “As of this morning your

three videos from September 5, 2018 now have a combined total of over 13,000 views. And that

is just the tip of the iceberg!!!!” Dkt. No. 131-14 ¶ 64; Sheindlin Decl., Ex. 9.

        On February 25, 2021, this Court dismissed Brady’s complaint in Brady v. Sheindlin

under the Rooker-Feldman doctrine. See Brady v. Sheindlin, 2021 WL 737458, at *4 (S.D.N.Y.

Feb. 25, 2021), aff’d, 2021 WL 5312995 (2d Cir. Nov. 16, 2021).

        As of July 31, 2021, the three YouTube videos posted by Brady had garnered over 35,000

views. Dkt. No. 131-14 ¶¶ 8, 69.




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                                  PROCEDURAL HISTORY

       On February 8, 2021, Sheindlin filed a complaint against Brady, bringing three causes of

action for defamation. Dkt. No. 1. The first cause of action concerns Brady’s statements about

Sheindlin on YouTube, the second cause of action concerns Brady’s email to forty-four members

of the news media, and the third cause of action concerns Brady’s advertisement on Craigslist.

Id. ¶¶ 60–88. Sheindlin also moved for a temporary restraining order. Dkt. Nos. 4–5. Treating

the application as one for a preliminary injunction, the Court denied Sheindlin’s motion for

preliminary injunctive relief on March 9, 2021. Dkt. No. 17.

       On June 1, 2021, Brady answered and brought counterclaims for defamation, false light

invasion of privacy, intentional infliction of emotional distress, and tort. Dkt. No. 92. On June

18, 2021, Sheindlin moved to dismiss Brady’s counterclaims and moved for sanctions. Dkt. No.

111. Brady filed an opposition to the motion to dismiss. Dkt. No. 114.

       On July 16, 2021, Brady moved for summary judgment on Sheindlin’s claims as well as

on his counterclaims. Dkt. No. 123. On August 2, 2021, Sheindlin moved for summary

judgment on his claims for defamation and opposed Brady’s motion for summary judgment.

Dkt. No. 128. Brady filed a memorandum of law in opposition to Sheindlin’s motion for

summary judgment and in reply to Sheindlin’s opposition to Brady’s motion for summary

judgment. Dkt. No. 132.

       On March 31, 2022, the Court granted Sheindlin’s motion to dismiss Brady’s

counterclaims. 3 Dkt. No. 153. That same day, the Court granted in part and denied in part

Brady’s motion for summary judgment and denied Sheindlin’s motion for summary judgment

with Opinion to follow. Dkt. No. 155.


3
  Because the Court dismissed Brady’s counterclaims, Brady’s motion for summary judgment as
to his counterclaims is denied as moot.


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                                       LEGAL STANDARD

       Under Federal Rule of Civil Procedure 56, a court “shall grant summary judgment if the

movant shows that there is no genuine dispute as to any material fact and the moving party is

entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). “An issue of fact is ‘material’ for

these purposes if it ‘might affect the outcome of the suit under the governing law,’” while “[a]n

issue of fact is ‘genuine’ if ‘the evidence is such that a reasonable jury could return a verdict for

the nonmoving party.’” Konikoff v. Prudential Ins. Co. of Am., 234 F.3d 92, 97 (2d Cir. 2000)

(quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)). In determining whether

there are any genuine issues of material fact, the Court must view all facts “in the light most

favorable to the non-moving party,” Holtz v. Rockefeller & Co., Inc., 258 F.3d 62, 69 (2d Cir.

2001), and the movant bears the burden of demonstrating that “no genuine issue of material fact

exists,” Marvel Characters, Inc. v. Simon, 310 F.3d 280, 286 (2d Cir. 2002) (citations omitted).

If the movant meets its burden, “the nonmoving party must come forward with admissible

evidence sufficient to raise a genuine issue of fact for trial in order to avoid summary judgment.”

Jaramillo v. Weyerhaeuser Co., 536 F.3d 140, 145 (2d Cir. 2008).

       “[A] party may not rely on mere speculation or conjecture as to the true nature of the

facts to overcome a motion for summary judgment.” Hicks v. Baines, 593 F.3d 159, 166 (2d Cir.

2010) (quoting Fletcher v. Atex, Inc., 68 F.3d 1451, 1456 (2d Cir. 1995)). Nor may the

non-moving party “rely on conclusory allegations or unsubstantiated speculation.” F.D.I.C. v.

Great Am. Ins. Co., 607 F.3d 288, 292 (2d Cir. 2010) (quoting Scotto v. Almenas, 143 F.3d 105,

114 (2d Cir. 1998)). Rather, to survive a summary judgment motion, the opposing party must

establish a genuine issue of fact by “citing to particular parts of materials in the record.” Fed. R.

Civ. P. 56(c)(1)(A); see also Wright v. Goord, 554 F.3d 255, 266 (2d Cir. 2009). The non-

moving party must also demonstrate more than “some metaphysical doubt as to the material


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facts.” Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). The

non-moving party “cannot defeat the motion by relying on the allegations in [its] pleading, or on

conclusory statements, or on mere assertions that affidavits supporting the motion are not

credible.” Gottlieb v. Cnty. of Orange, 84 F.3d 511, 518 (2d Cir. 1996) (internal citation

omitted).

       The Southern District’s Local Civil Rule 56.1 sets forth specific requirements about how

the facts relied upon by the moving party and disputed by the opposing party are to be presented.

Any party moving for summary judgment must “annex[] to the notice of motion a separate, short

and concise statement, in numbered paragraphs, of the material facts as to which the moving

party contends there is no genuine issue to be tried.” L.R. 56.1(a). Local Rule 56.1(b), in turn,

requires the party opposing the motion to “include a correspondingly numbered paragraph

responding to each numbered paragraph in the statement of the moving party, and if necessary,

additional paragraphs containing a separate, short and concise statement of additional material

facts as to which it is contended that there exists a genuine issue to be tried.” L.R. 56.1(b). All

statements in a Local Rule 56.1 submission “must be followed by citation to evidence which

would be admissible.” L.R. 56.1(d). “Each numbered paragraph in the statement of material

facts set forth in the statement required to be served by the moving party will be deemed to be

admitted for purposes of the motion unless specifically controverted by a correspondingly

numbered paragraph in the statement required to be served by the opposing party.” L.R. 56.1(c).

       “When a pro se litigant is involved, the same standards for summary judgment apply, but

‘the pro se litigant should be given special latitude in responding to a summary judgment

motion.’” Williams v. Savory, 87 F. Supp. 3d 437, 451 (S.D.N.Y. 2015) (quoting Knowles v.

N.Y.C. Dep’t of Corr., 904 F. Supp. 217, 220 (S.D.N.Y. 1995)); see Harris v. Miller, 818 F.3d




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49, 57 (2d Cir. 2016) (“‘[I]t is well established that a court is ordinarily obligated to afford a

special solicitude to pro se litigants,’ ‘particularly where motions for summary judgment are

concerned.’” (quoting Tracy v. Freshwater, 623 F.3d 90, 101 (2d Cir. 2010), and then Jackson v.

Fed. Express, 766 F.3d 189, 195 (2d Cir. 2014))). “[T]he submissions of a pro se litigant must

be construed liberally and interpreted to raise the strongest arguments that they suggest.”

Williams v. Annucci, 895 F.3d 180, 187 (2d Cir. 2018) (quoting Triestman v. Fed. Bureau of

Prisons, 470 F.3d 471, 474 (2d Cir. 2006)). “This special solicitude is not unlimited, however,

and does not ‘relieve’ a [party] of his or her ‘duty to meet the requirements necessary to defeat a

motion for summary judgment.’” Nieblas-Love v. New York City Hous. Auth., 165 F. Supp. 3d

51, 65 (S.D.N.Y. 2016) (quoting Jorgensen v. Epic/Sony Records, 351 F.3d 46, 50 (2d Cir.

2003)). 4

                                           DISCUSSION

        Plaintiff brings causes of action for defamation regarding: (1) Defendant’s statements on

YouTube; (2) Defendant’s email to forty-four members of the news media; and (3) Defendant’s

advertisement on Craigslist. The Court first sets forth the general legal standards of defamation

under New York law before turning to each of Plaintiff’s causes of action. 5


4
  On September 1, 2021, Sheindlin filed a letter motion to strike Brady’s motion for summary
judgment because Brady failed to submit a Rule 56.1 statement with his motion in accordance
with Local Rules and because Brady’s belated submission of a statement of facts has no
numbered paragraphs. Dkt. No. 138. “A district court has broad discretion to determine whether
to overlook a party’s failure to comply with local court rules.” Holtz v. Rockefeller & Co., Inc.,
258 F.3d 62, 73 (2d Cir. 2001). A district court “may in its discretion opt to ‘conduct an
assiduous review of the record’ even where one of the parties has failed to file [a Local Rule
56.1] statement.” Id. (quoting Monahan v. N.Y.C. Dep’t Corr., 214 F.3d 275, 292 (2d Cir.
2000)). Given this discretion and Brady’s pro se status, see Harris, 818 F.3d at 57, the Court
will overlook his failure to comply with the Local Rules and will conduct a review of the
underlying record on the motion for summary judgment.
5
  On March 17, 2022, Defendant moved for this Court’s recusal pursuant to 28 U.S.C. § 455.
Dkt. No. 149. The Court previously denied Defendant’s motions to disqualify and for recusal on
April 2, 2021. Since then, Defendant asserts that the Court has “engaged in unconscionable

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I.      Defamation Legal Standards

        “The gravamen of an action alleging defamation is an injury to reputation.” Celle v.

Filipino Rep. Enterprises Inc., 209 F.3d 163, 177 (2d Cir. 2000). “Under New York law a

defamation plaintiff must establish five elements: (1) a written defamatory statement of and

concerning the plaintiff, (2) publication to a third party, (3) fault, (4) falsity of the defamatory

statement, and (5) special damages or per se actionability.” Palin v. New York Times Co., 940

F.3d 804, 809 (2d Cir. 2019); see also Small Bus. Bodyguard Inc. v. House of Moxie, Inc., 230 F.

Supp. 3d 290, 307 (S.D.N.Y. 2017) (“There are seven elements of defamation under New York

law: (1) a defamatory statement of fact; (2) that is false; (3) published to a third party; (4) ‘of and

concerning’ the plaintiff; (5) made with the applicable level of fault on the part of the speaker;

(6) either causing harm or constituting slander per se; and (7) not protected by privilege.” (citing

Albert v. Loksen, 239 F.3d 256, 265–66 (2d Cir. 2001))).

        A.      Defamatory Statement

        “The New York Court of Appeals has defined a defamatory statement as one that exposes

an individual ‘to public hatred, shame, obloquy, contumely, odium, contempt, ridicule, aversion,

ostracism, degradation, or disgrace, or . . . induce[s] an evil opinion of one in the minds of right-

thinking persons, and . . . deprives one of . . . confidence and friendly intercourse in society.’”

Celle, 209 F.3d at 177 (alteration in original) (quoting Kimmerle v. New York Evening

Journal, 186 N.E. 217, 218 (N.Y. 1933)).




behavior” including by “colluding” with the Court of Appeals for the Second Circuit, which
affirmed this Court’s opinion in Brady v. Sheindlin. Dkt. No. 149 at 3; see also Brady v.
Sheindlin, 2021 WL 5312995, at *1 (2d Cir. Nov. 16, 2021) (summary order). Defendant’s
allegations are completely unfounded. Accordingly, there are no grounds for the Court’s recusal
under the disqualification statute, and Defendant’s instant motion for recusal is denied.


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       “Whether particular words are defamatory presents a legal question to be resolved by the

court[s] in the first instance.” Id. (alteration in original) (quoting Aronson v. Wiersma, 483

N.E.2d 1138, 1139 (N.Y. 1985)); see also Lan Sang v. Ming Hai, 951 F. Supp. 2d 504, 518

(S.D.N.Y. 2013) (“It is ultimately ‘the responsibility of the jury to determine whether the

plaintiff has actually been defamed; however, a threshold issue for resolution by the court is

whether the statement alleged to have caused plaintiff an injury is reasonably susceptible of the

defamatory meaning imputed to it.’” (quoting Levin v. McPhee, 119 F. 3d 189, 195 (2d Cir.

1997))). “Where an allegedly defamatory statement can be reasonably construed as having more

than one meaning, only some of which carry a defamatory connotation, whether the statement is

defamatory is a question of fact for the jury.” Lan Sang, 951 F. Supp. 2d at 518; see also Celle,

209 F.3d at 178.

       “The New York Court of Appeals has developed standards that federal courts follow in

determining whether a statement or publication is defamatory.” Celle, 209 F.3d at 177. “First,

the Court of Appeals has repeatedly instructed that courts ‘must give the disputed language a fair

reading in the context of the publication as a whole.’” Id. (quoting Armstrong v. Simon &

Schuster, Inc., 649 N.E.2d 825, 829 (N.Y. 1995)). “Second, courts are not to ‘“strain” to

interpret such writings “in their mildest and most inoffensive sense to hold them nonlibelous.”’”

Id. (quoting November v. Time Inc., 194 N.E.2d 126, 128 (N.Y. 1963)). “Finally, ‘the words are

to be construed not with the close precision expected from lawyers and judges but as they would

be read and understood by the public to which they are addressed.’” Id. (quoting November, 194

N.E.2d at 128).

               1.      Fact Versus Opinion

       The defamatory statement at issue must express an assertion of fact rather than one of

opinion. “[U]nder New York law, pure opinion . . . is not actionable because expressions of


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opinion, as opposed to assertions of fact, are deemed privileged and, no matter how offensive,

cannot be the subject of an action for defamation.” Ratajack v. Brewster Fire Dep’t, Inc. of the

Brewster-Se. Joint Fire Dist., 178 F. Supp. 3d 118, 158 (S.D.N.Y. 2016) (internal quotation

marks omitted and alteration adopted) (quoting Davis v. Boeheim, 22 N.E.3d 999, 1004 (N.Y.

2014)). “This is because a statement of opinion is not an assertion of fact that can be proven

false, and ‘[a]n assertion that cannot be proved false cannot be held libelous.’” Biro v. Conde

Nast, 883 F. Supp. 2d 441, 459 (S.D.N.Y. 2012) (alteration in original) (quoting Hotchner v.

Castillo-Puche, 551 F.2d 910, 913 (2d Cir. 1977)).

       “Distinguishing between fact and opinion is a question of law for the courts, to be

decided based on what the average person hearing or reading the communication would take it to

mean.” Davis, 22 N.E.3d at 1004–05 (internal quotation marks omitted). “Thus, courts must

undertake the ‘often complicated task of distinguishing between potentially actionable statements

of fact and nonactionable expressions of opinion.’” Lan Sang, 951 F. Supp. 2d at 519 (quoting

Qureshi v. St. Barnabas Hosp. Ctr., 430 F. Supp. 2d 279, 288 (S.D.N.Y. 2006)); see also Brian

v. Richardson, 660 N.E.2d 1126, 1129 (N.Y. 1995) (“Distinguishing between assertions of fact

and nonactionable expressions of opinion has often proved a difficult task.”). “The factors to be

considered are: ‘(1) whether the specific language in issue has a precise meaning which is readily

understood; (2) whether the statements are capable of being proven true or false; and (3) whether

either the full context of the communication in which the statement appears or the broader social

context and surrounding circumstances are such as to signal readers or listeners that what is

being read or heard is likely to be opinion, not fact.’” Brian, 660 N.E.2d at 1129 (internal

quotation marks omitted) (quoting Gross v. New York Times Co., 623 N.E.2d 1163, 1167 (N.Y.

1993)). “When the defendant’s statements, read in context, are readily understood as conjecture,




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hypothesis, or speculation, this signals the reader that what is said is opinion, and not fact.”

Levin, 119 F.3d at 197 (citation omitted). “Often, statements of ‘rhetorical hyperbole’ or

‘imaginative expression’ are held not actionable, because they ‘cannot reasonably be interpreted

as stating actual facts’ that could be proved false.” Biro, 883 F. Supp. 2d at 460 (quoting

Milkovich v. Lorain J. Co., 497 U.S. 1, 20, 25 (1990)).

        “A statement of ‘pure opinion’ is one which is either ‘accompanied by a recitation of the

facts upon which it is based’ or ‘does not imply that it is based upon undisclosed facts.’” Id. at

461 (quoting Steinhilber v. Alphonse, 501 N.E.2d 550, 552 (N.Y. 1986)). “However, if a

statement ‘implies that the speaker’s opinion is based on the speaker’s knowledge of facts that

are not disclosed to the reader,’ then it may be actionable.” Id. (quoting Levin, 119 F.3d at 197).

“Such statements may be actionable ‘not because they convey “false opinions” but rather

because a reasonable listener or reader would infer that the speaker or writer knows certain facts,

unknown to the audience, which support the opinion and are detrimental to the person toward

whom the communication is directed.’” Id. (quoting Gross, 623 N.E.2d at 1168). “In other

words, a statement of opinion that is based on undisclosed facts is potentially actionable because

it carries with it an implicit statement of those facts.” Id. “On the other hand, ‘a proffered

hypothesis that is offered after a full recitation of the facts on which it is based is readily

understood by the audience as conjecture.’” Id. (quoting Gross, 623 N.E.2d at 1168).

                2.      Falsity

        Under New York Law, defamation requires a defamatory statement of fact that is false.

See Small Bus. Bodyguard, 230 F. Supp. 3d at 307. Accordingly, “[i]t is fundamental that truth

is an absolute, unqualified defense to a civil defamation action, and ‘substantial truth’ suffices to

defeat a charge of libel.” Conti v. Doe, 545 F. Supp. 3d 257, 271 (S.D.N.Y. 2021) (quoting

Guccione v. Hustler Magazine, Inc., 800 F.2d 298, 301 (2d Cir. 1986)); Enigma Software Grp.


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USA, LLC v. Bleeping Computer LLC, 194 F. Supp. 3d 263, 281 (S.D.N.Y. 2016) (“It is

axiomatic that truth is an absolute, unqualified defense to a civil defamation action . . . and that

substantial truth is all that is required.”). “A statement is ‘substantially true’ if the statement

would not have a different effect on the mind of the reader from that which the pleaded truth

would have produced.” Conti, 545 F. Supp. 3d at 272 (internal quotation marks omitted)

(quoting Jewell v. NYP Holdings, Inc., 23 F. Supp. 2d 348, 366 (S.D.N.Y. 1998)).

                3.      Defamatory Per Se

        “New York recognizes certain statements as defamatory per se, meaning they are

actionable without pleading and proof of special damages.” Celle, 209 F.3d at 179 (internal

quotation marks omitted). “If a statement is defamatory per se, injury is assumed.” Id. “The

issue of whether a statement is actionable per se is for the court.” Albert, 239 F.3d at 271.

        “One useful general rule is that ‘a writing which tends to disparage a person in the way of

his office, profession or trade’ is defamatory per se and does not require proof of special

damages.” Celle, 209 F.3d at 179 (quoting Davis v. Ross, 754 F.2d 80, 82 (2d Cir. 1985)). “A

related rule is that ‘[w]here a statement impugns the basic integrity or creditworthiness of a

business, an action for defamation lies and injury is conclusively presumed.’” Id. at 180

(alteration in original) (quoting Ruder & Finn Inc. v. Seaboard Surety Co., 244 N.E.2d 518, 522

(N.Y. 1981)); see also Davis, 754 F.3d at 82 (“[W]ords are libelous if they affect a person in his

profession, trade, or business by imputing to him any kind of fraud, dishonesty, misconduct,

incapacity, unfitness or want of any necessary qualification in the exercise thereof.” (quoting

Four Star Stage Lighting, Inc. v. Merrick, 392 N.Y.S.2d 297 (1st Dep’t 1977))). Further, “[a]

written statement that ‘charges a person with the commission of a crime’ . . . is libel per se.”




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Meloff v. New York Life Ins. Co., 240 F.3d 138, 145 (2d Cir. 2001) (quoting Zeevi v. Union Bank

of Switz., 1993 WL 148871, at *4 (S.D.N.Y. 1993)).

               4.      Published to a Third Party

       “Under New York defamation law, ‘publication is a term of art . . . . A defamatory

writing is not published if it is read by no one but the one defamed. Published it is, however, as

soon as read by anyone else.’” Albert, 239 F.3d at 269 (quoting Ostrowe v. Lee, 175 N.E. 505

(1931)).

       B.      Fault

       Under New York law, the level of fault required to recover on a defamation claim is

either negligence or actual malice depending on the status of the libeled party. See Celle, 209

F.3d at 176. “Though a state-based cause-of-action, the elements of a libel action are heavily

influenced by the minimum standards required by the First Amendment.” Id. “In particular, the

showing of fault necessary to recover for libel depends on a plaintiff’s position in society,

requiring a higher degree of fault for public officials and public figures.” Id. And “[w]hether a

plaintiff is a public figure is a question of law for the court.” Mitre Sports Int’l Ltd. v. Home Box

Off., Inc., 22 F. Supp. 3d 240, 249 (S.D.N.Y. 2014) (citing Celle, 209 F.3d at 176); see also

Coleman v. Grand, 2021 WL 768167 (E.D.N.Y. Feb. 26, 2021) (same).

               1.      General Public Figures, Limited Public Figures, and Private Figures

       In defamation actions, “[t]here are three recognized classes of plaintiffs: (1) ‘general

public figures,’ i.e., public officials or persons whose conduct is generally a matter of interest to

the public; (2) ‘limited public figures,’ i.e., persons whose conduct is of interest to certain

portions of the public as to a limited range of issues; and (3) ‘private figures.’” Enigma Software

Grp., 194 F. Supp. 3d at 287 (citing cases).




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        A general public figure is an individual “who has ‘assumed [a] role[] of especial

prominence in the affairs of society.” BYD Co. Ltd. v. VICE Media LLC, 531 F. Supp. 3d 810,

819 (S.D.N.Y. 2021) (quoting Gertz v. Robert Welch, Inc., 418 U.S. 323, 345 (1974)), aff’d,

2022 WL 598973 (2d Cir. Mar. 1, 2022); Gottwald v. Sebert, 148 N.Y.S.3d 37, 43 (1st Dep’t

2021) (“A person can only be a general-purpose public figure if he or she is a celebrity; his or

her name is a household word whose ideas and actions the public in fact follows with great

interest and invites attention and comment.” (internal quotation marks omitted and alterations

adopted)). “Absent clear evidence of general fame or notoriety in the community, and pervasive

involvement in the affairs of society, an individual should not be deemed a public personality for

all aspects of his life.” Gertz, 418 U.S. at 352.

        By contrast, a limited public figure (also called a “limited-purpose public figure”) is an

individual who “voluntarily injects himself or is drawn into a particular public controversy and

thereby becomes a public figure for a limited range of issues.” BYD Co., 531 F. Supp. 3d at 819

(quoting Gertz, 418 U.S. at 351–52). Under the Second Circuit’s test, a limited-purpose public

figure is one who has: “(1) successfully invited public attention to his views in an effort to

influence others prior to the incident that is the subject of litigation; (2) voluntarily injected

himself into a public controversy related to the subject of the litigation; (3) assumed a position of

prominence in the public controversy; and (4) maintained regular and continuing access to the

media.” Lerman v. Flynt Distrib. Co., 745 F.2d 123, 136–37 (2d Cir. 1984). “A private

individual is not automatically transformed into a public figure just by becoming involved in or

associated with a matter that attracts public attention.” Gottwald, 148 N.Y.S.3d at 44 (quoting

Wolston v. Reader’s Digest Assn. Inc., 443 U.S. 157, 167 (1979)). “In order to be considered a

public controversy . . . the subject matter must be more than simply newsworthy . . . it must be a




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real dispute, the outcome of which affects the general public or some segment of it in an

appreciable way.” Id. (quoting Krauss v. Globe Intern., Inc., 674 N.Y.S.2d 662, 664 (1st Dep’t

1998)).

          “A person may generally not be made a public figure through the unilateral acts of

another.” Id. “[A]n individual can become a limited purpose public figure only through his own

actions. The degree of voluntary involvement in the public controversy is important.” Id.

(internal quotation marks omitted); see also Mitre Sports Int’l, 22 F. Supp. 3d at 251 (“[I]n

determining whether a plaintiff is a public figure, New York courts examine whether plaintiff

had taken affirmative steps to attract personal attention or had strived to achieve a measure of

public acclaim. Voluntary attention-seeking, or voluntary participation in a particular

controversy is a key factor in determining limited public figure status.” (citations omitted)).

                 2.      Actual Malice

          “Public-figure plaintiffs must plead ‘“actual malice”—that is, [] knowledge that [the

statement at issue] was false or [] reckless disregard of whether it was false or not.’” Enigma

Software Grp., 194 F. Supp. 3d at 287 (alteration in original) (quoting N.Y. Times Co. v. Sullivan,

376 U.S. 254, 280 (1964)). “Although actual malice is subjective, a court typically will infer

actual malice from objective facts.” Celle, 209 F.3d at 183 (internal quotation marks omitted).

“These facts should provide evidence of negligence, motive and intent such that an accumulation

of the evidence and appropriate inferences supports the existence of actual malice.” Id. (internal

quotation marks omitted). The Second Circuit has stated that “[e]vidence of ill will combined

with other circumstantial evidence indicating that the defendant acted with reckless disregard of

the truth or falsity of a defamatory statement may also support a finding of actual malice.” Id.

But evidence of ill will alone does not suffice to establish actual malice. Id. “[A] court ruling on

a motion for summary judgment on actual malice ‘must be guided by the New York Times “clear


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and convincing” evidentiary standard in determining whether a genuine issue of actual malice

exists—that is, whether the evidence presented is such that a reasonable jury might find that

actual malice had been shown with convincing clarity.’” Palin v. New York Times Co., 482 F.

Supp. 3d 208, 214 (S.D.N.Y.) (quoting Anderson v. Liberty Lobby, 477 U.S. 242, 257 (1986)),

modified, 510 F. Supp. 3d 21 (S.D.N.Y. 2020).

               3.      Negligence or Grossly Irresponsible Manner

       “By contrast, under New York law, private-figure plaintiffs must plead only negligence

or, ‘where the content . . . is arguably within the sphere of legitimate public concern,’ that ‘the

publisher acted in a grossly irresponsible manner without due consideration for the standards of

information gathering and dissemination ordinarily followed by responsible parties.’” Enigma

Software Grp., 194 F. Supp. 3d at 287 (quoting Ratajack, 178 F. Supp. 3d at 160). In other

words, “the New York Court of Appeals has declined the invitation to set the bar for private

plaintiffs as low as negligence ‘where the content . . . is arguably within the sphere of legitimate

public concern.’” Ratajack, 178 F. Supp. 3d at 160. “In determining whether content is

arguably within the sphere of legitimate public concern, the New York Court of Appeals has

cautioned that ‘publications directed only to a limited, private audience are matters of purely

private concern.’” Id. (quoting Huggins v. Moore, 726 N.E.2d 456, 460 (N.Y. 1999)). When

content is arguably within the sphere of legitimate public concern, “the plaintiff ‘must establish,

by a preponderance of the evidence, that the publisher acted in a grossly irresponsible manner

without due consideration for the standards of information gathering and dissemination

ordinarily followed by responsible parties.’” Id. (Chapadeau v. Utica Observer-Dispatch, Inc.,

341 N.E.2d 569, 571 (N.Y. 1975)).




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       C.      Litigation Privilege and Section 75 of the New York Civil Rights Law

       New York law recognizes certain privileges that shield an individual from liability for

defamation. See Stega v. New York Downtown Hosp., 107 N.E.3d 543, 549 (N.Y. 2018)

(“Courts have long recognized that the public interest is served by shielding certain

communications, though possibly defamatory, from litigation, rather than risk stifling them

altogether.” (quoting Liberman v. Gelstein, 605 N.E.2d 344, 349 (N.Y. 1992))). “[F]or example,

statements uttered in the course of a judicial proceeding are absolutely privileged, ‘as long as

such statements are material and pertinent to the questions involved’ in the proceeding.” Id.

(quoting Wiener v. Weintraub, 239 N.E.2d 540, 540 (N.Y. 1968)); see also Aguirre v. Best Care

Agency, Inc., 961 F. Supp. 2d 427, 455–56 (E.D.N.Y. 2013) (“New York has traditionally

accorded an absolute privilege to oral or written communications made in the course of judicial

proceedings and which relate to the litigation.” (quoting D’Annuzio v. Ayken, Inc., 876 F. Supp.

2d 211, 216 (E.D.N.Y. 2012))). “The common law litigant’s privilege ‘offers a shield to one

who publishes libelous statements in a pleading or in open court for the purpose of protecting

litigants’ zeal in furthering their causes.’” Aguirre, 961 F. Supp. 2d at 456 (quoting D’Annuzio,

876 F. Supp. 2d at 217). “The common law litigants’ privilege does not cover out of court

statements, such as those made in a press release or press conference, because they are not made

during the course of judicial proceedings.” Id.

       Out-of-court statements, on the other hand, are governed by Section 74 of the New York

Civil Rights Law, which provides:

       A civil action cannot be maintained against any person, firm or corporation, for the
       publication of a fair and true report of any judicial proceeding, legislative
       proceeding or other official proceeding, or for any heading of the report which is a
       fair and true headnote of the statement published.




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N.Y. Civ. Rights Law § 74. “The fair and true report privilege has been described as an absolute

privilege that is not defeated by the presence of malice or bad faith.” Lan Sang, 951 F. Supp. 2d

at 520 (quoting Biro, 883 F. Supp. 2d at 477). “A statement is deemed a fair and true report if it

is ‘substantially accurate.’” Id. (quoting Karedes v. Ackerley Group, Inc., 423 F.3d 107, 119 (2d

Cir. 2005)). “A report is ‘substantially accurate’ if, despite minor inaccuracies, it does not

produce a different effect on a reader than would a report containing the precise truth.” Id.

(quoting Karedes, 423 F.3d at 119). “A fair and true report admits of some liberality; the exact

words of every proceeding need not be given if the substance be substantially stated.” Holy

Spirit Ass’n for Unification of World Christianity v. N.Y. Times Co., 399 N.E.2d 1185, 1187

(N.Y. 1979).

        “A key test courts have adopted to resolve whether a report qualifies for the fair report

privilege is whether the ordinary viewer or reader can determine from the publication itself that

the publication is reporting on a judicial proceeding.” Kinsey v. New York Times Co., 991 F.3d

171, 178–79 (2d Cir. 2021) (internal quotation marks omitted and alteration adopted). For the

privilege to apply, the statement at issue must be connected to a judicial proceeding. See Wexler

v. Allegion (UK) Ltd., 374 F. Supp. 3d 202, 311 (S.D.N.Y. 2019). This is not to say that “the

court filing, the court, or the jurisdiction be specifically identified in the article,” but “[t]he key

question is whether the reader is able to determine that the report is of a proceeding.” Kinsey,

991 F.3d at 180. “In other words, if the context in which the statement is made makes it

impossible for the ordinary viewer or reader to determine whether the publication was reporting

on a judicial proceeding, the absolute privilege does not apply.” Id. at 179 (internal quotation

marks omitted and alterations adopted). “Comments that essentially summarize or restate the

allegations of a pleading filed in an action are the type of statements that fall within § 74’s




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privilege.” Lan Sang, 951 F. Supp. 2d at 521 (quoting Lacher v. Engel, 817 N.Y.S.2d 37, 43 (1st

Dep’t 2006)).

       “The absolute privilege under Section 74 also ‘extends to the release of background

material with regard to the case, so long as the statement is a substantially accurate description of

the allegation,’ including ‘where the description of the case is offered by a party’s legal

counsel.’” Lan Sang, 951 F. Supp. 2d at 521 (quoting Fishof v. Abady, 720 N.Y.S.2d 505, 505

(1st Dep’t 2001)); see also Aguirre, 961 F. Supp. 2d at 457 (“The protections of section 74

extend to pleadings, transcripts, live proceedings and the release by the parties of background

material regarding their positions in the case.” (quoting Riel v. Morgan Stanley, 2007 WL

541955, at *10 (S.D.N.Y. Feb. 16, 2007))); Biro, 883 F. Supp. 2d at 478. “New York courts

have held that ‘once it is established that the publication is reporting on a judicial proceeding,

how a reporter gathers his information concerning a judicial proceeding is immaterial provided

his [or her] story is a fair and substantially accurate portrayal of the events in question.” Biro,

883 F. Supp. 2d at 478 (alteration in original) (quoting Cholowsky v. Civiletti, 887 N.Y.S.2d 592,

596 (2d Dep’t 2009)). “The fact that a defendant ‘derive[s] information about the judicial

proceedings from secondary sources [does] not mean that Civil Rights Law § 74 [is]

inapplicable.’” Id. (alterations in original) (quoting Cholowsky, 887 N.Y.S.2d at 596).

       However, “Section 74 does not afford protection if the specific statements at issue,

considered in their context, suggest more serious conduct than that actually suggested in the

official proceeding.” Lan Sang, 951 F. Supp. 2d at 521 (internal quotation marks omitted and

alteration adopted); see also Aguirre, 961 F. Supp. 2d at 457 (same); Biro, 883 F. Supp. 2d at

477 (same). Additionally, the New York Court of Appeals has concluded that “it was never the

intention of the Legislature in enacting section 74 to allow any person to maliciously institute a




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judicial proceeding alleging false and defamatory charges, and to then circulate a press release or

other communication based thereon and escape liability by invoking the statute.” Williams v.

Williams, 246 N.E.2d 333, 337 (N.Y. 1969). “However, ‘[t]he Williams exception is narrow’

and cannot apply ‘in the absence of any allegation that the . . . action was brought maliciously

and solely for the purpose of later defaming the [complainant].’” Wexler v. Allegion (UK)

Limited, 374 F. Supp. 3d at 312 n.8 (second alteration in original) (quoting Fuji Photo Film

U.S.A., Inc. v. McNulty, 669 F. Supp. 2d 405, 412 (S.D.N.Y. 2009)).

II.    Application

       A.      Plaintiff as a Private Figure

       The Court first addresses the threshold question of Plaintiff’s status as a public or private

figure with respect to this defamation action. The undisputed evidence in the record supports

finding that Plaintiff is a private figure. There is no evidence that would support the conclusion

that he is either a general public figure or a limited-purpose public figure.

       First, there are no facts establishing that Plaintiff himself is a celebrity or household name

such that he should be considered a general public figure. Though Defendant identifies Plaintiff

as the son of “Judge Judy”—a television personality who might arguably be considered a general

public figure—there is no evidence that Plaintiff himself should be considered a general public

figure simply because of this familial relationship. It would be rare for an individual to become a

public figure by an accident of genealogy alone. Indeed, Defendant frequently identifies

Plaintiff as Judge Judy’s son, suggesting that Plaintiff’s name alone would not be recognizable to

the general public. Cf. Krauss, 674 N.Y.S.2d at 664 (“Plaintiff was not famous in his own right,

and his marriage to Ms. Lunden certainly did not bestow upon him the sort of fame that is

necessary to be considered a general public figure. Indeed, the very article at issue did not call

plaintiff by name in the headline or anywhere on the front page, identifying him only as Ms.


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Lunden’s husband.”); James v. Gannett Co., 353 N.E.2d 834, 839 (N.Y. 1976) (describing

precedent holding that “the wife of a member of a prominent society family was not a public

figure” where “she had not assumed a role of especial prominence in society at large, had not

thrust herself into the forefront of a particular controversy in order to influence its resolution”

even where she had held “a few press conferences” (citing Time, Inc. v. Firestone, 424 U.S. 448,

454–55 (1976))).

        Second, there is no evidence in the record that would support finding that Plaintiff is a

limited-purpose public figure under the Second Circuit’s four-part test in Lerman. The first three

parts of the test ask whether Plaintiff: “(1) successfully invited public attention to his views in an

effort to influence others prior to the incident that is the subject of litigation; (2) voluntarily

injected himself into a public controversy related to the subject of the litigation; [and] (3)

assumed a position of prominence in the public controversy.” Lerman, 745 F.2d at 136. There is

no indication from the record that Plaintiff voluntarily took actions to affirmatively wade into a

public controversy. Rather, the record shows that Plaintiff agreed to act as counsel in a private

legal matter of no particular public importance whatsoever affecting specific individuals,

including IGS Realty and Defendant. There has been no showing on this record that the IGS

Realty matter involving Defendant was “a real dispute, the outcome of which affects the general

public or some segment of it in an appreciable way.” Gottwald, 148 N.Y.S.3d at 44. There is no

evidence that would support that the IGS Realty matter or any of the relevant, subsequent

litigation had broader implications constituting a public controversy. In addition, there is no

evidence that Plaintiff engaged in “[v]oluntary attention-seeking” with respect to these matters.

Mitre Sports Int’l, 22 F. Supp. 3d at 251. Though Defendant—as opposed to Plaintiff—has

engaged in efforts to attract attention to the IGS Realty matter, publicize Plaintiff’s involvement,




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and influence the public, Plaintiff did not join in those efforts; Defendant cannot transform

Plaintiff into a public figure through these “unilateral acts.” Gottwald, 148 N.Y.S.3d at 44. The

fourth part of the Lerman test asks whether Plaintiff “maintained regular and continuing access

to the media.” 745 F.2d at 137. There is no evidence that such was the case with Plaintiff here.

Though there is evidence in the record that some members of the media covered the filing of the

instant suit by Plaintiff, it cannot be said that Plaintiff himself played a role in that coverage.

And even assuming Plaintiff did, a single instance of media coverage cannot sustain a finding

that Plaintiff maintained “regular” and “continuing” access to the media. On this record, no jury

could reasonably find that Plaintiff voluntarily engaged in conduct that would make him a

limited-purpose public figure under Lerman.

        Defendant offers no argument regarding Plaintiff’s status as either a public figure or a

private figure in his summary judgment papers. And “the public-figure determination should

properly be made by the court, placing the burden of proof on the defendant.” Krauss v. Globe

Int’l, Inc., 674 N.Y.S.2d 662, 663–64 (1st Dep’t 1998) (emphasis added) (citations omitted); see

also Fairley v. Peekskill Star Corp., 445 N.Y.S.2d 156, 159 (2d Dep’t 1981) (“The burden of

proof with respect to the status of the plaintiff is on the media defendant.”). Since Defendant has

not established that Plaintiff should be considered a public figure and since the record on

summary judgment does not support such a finding, Plaintiff is considered a private figure for

purposes of this defamation action.

        As a result, for each of Plaintiff’s defamation claims, Plaintiff need only establish, at

most, that Defendant “acted in a grossly irresponsible manner without due consideration for the

standards of information gathering and dissemination ordinarily followed by responsible

parties”—assuming that the content at issue is found to be “arguably within the sphere of




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legitimate public concern.” Enigma Software Grp., 194 F. Supp. 3d at 287. If not, Plaintiff need

only show negligence in order to succeed on his defamation claims. Id.

       B.      Plaintiff’s Defamation Claims

       The Court addresses Plaintiff’s defamation claims out of order. The Court first addresses

Plaintiff’s defamation claim regarding Brady’s email to forty-four members of the news media

before turning to the claim regarding Brady’s advertisement on Craigslist. The Court last

addresses the claim based on Brady’s statements on YouTube.

               1.      Brady’s Email to Forty-Four Members of the News Media

       Defendant is granted summary judgment on Plaintiff’s defamation claim concerning

Defendant’s email to forty-four members of the news media. The statements at issue in the

email are absolutely privileged as a fair and true report of a judicial proceeding under Section 74

of the New York Civil Rights Law.

       Plaintiff’s defamation claim concerns Defendant’s email to forty-four members of the

news media with the subject line “VERY SAD – Third time will be the charm against Judge

Judy’s lowlife son Gregory :(” and with the body of the email stating “LOCK HIM UP !!! The

third time will be the charm.” Sheindlin Decl., Ex. 8. The email attached a two-page letter that

was authored by Brady and was filed with this Court in Brady v. Sheindlin, 20-cv-7047

(S.D.N.Y.), ECF No. 22. Plaintiff argues that the attached letter contained defamatory

statements falsely accusing Plaintiff of criminal activity, among other things. Dkt. No. 129 at 7.

       Even assuming Plaintiff’s contentions are correct, however, the statements in Defendant’s

letter, which was a court filing attached to the email in question, are absolutely privileged.

Section 74 of the New York Civil Rights Law provides an absolute privilege for “the publication

of a fair and true report of any judicial proceeding.” N.Y. Civ. Rights Law § 74. And statements

that are part of a written communication made in the course of a judicial proceeding fall within


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the litigation privilege under New York common law. See Stega, 107 N.E.3d at 549. Here, the

defamatory statements of which Plaintiff complains are within the copy of the court filing

attached to the email. These statements are protected by the litigation privilege, and there can be

no question that Defendant’s direct reproduction of that court filing is a fair and true report—or a

“substantially accurate” description—of a judicial proceeding. Lan Sang, 951 F. Supp. 2d at

520. Accordingly, those statements are not actionable. 6

       Though Plaintiff cannot bring a defamation action over the statements in this email,

Plaintiff is not without any remedy. Plaintiff could have sought relief from the court where this

document was filed, including under Federal Rule of Civil Procedure 11 and could have argued

that it was being presented for an “improper purpose, such as to harass.” Fed. R. Civ. P.

11(b)(1); see also Wexler, 374 F. Supp. 3d at 312 n.8 (discussing alternative remedies such as

“mov[ing] to strike from those pleadings any ‘scandalous matter,’ Fed. R. Civ. P. 12(f), or for

sanctions for presenting those pleadings for ‘any improper purpose, such as to harass,’ Fed. R.

Civ. P. 11(b)(1)”).

       For these reasons, Plaintiff’s is denied summary judgment on his defamation claim as to

Brady’s email, and Defendant is granted summary judgment on this claim.




6
  Plaintiff does not argue that the subject line and body of the email—independent of or in
relation to the email attachment—contain defamatory statements. The Court therefore need not
decide this question. However, the Court notes that, to be actionable, a defamatory statement
must express an assertion of fact rather than one of opinion and that expressions of opinion, “no
matter how offensive, cannot be the subject of an action for defamation.” Ratajack, 178 F. Supp.
3d at 158; see also Biro, 883 F. Supp. 2d at 460 (“Often, statements of rhetorical hyperbole or
imaginative expression are held not actionable, because they cannot reasonably be interpreted as
stating actual facts that could be proved false.” (internal quotation marks omitted)). Plaintiff has
not explained how the statements “VERY SAD – Third time will be the charm against Judge
Judy’s lowlife son Gregory” and “LOCK HIM UP !!! The third time will be the charm” either
independently or in relation to the attachment can be considered assertions of fact or statements
of opinion based on undisclosed facts or are otherwise actionable.


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               2.      Brady’s Advertisement on Craigslist

       The Court next addresses Plaintiff’s defamation claim premised on Defendant’s Craigslist

advertisement. Plaintiff argues that the following statements in the advertisement constitute

defamation per se:

       The case proves that Sheindlin used false instruments in a fraud scheme to collect
       over 1.7 million dollars on a personal guaranty for his client on September 5, 2018.
       The case has not broken in the news yet since it is being suppressed for this
       politically connected man but it will break very soon because the case is too
       scandalous to be ignored and over 7000 people have already learned about the case
       on youtube . . .

       Also there are three under cover videos of Sheindlin from September 5, 2018 as he
       was stealing the money that can be seen on YouTube if you type in the name
       Gregory Sheindlin.

Dkt. No. 129 at 8 (quoting Sheindlin Decl., Ex. 4).

       The first sentence at issue—“The case proves that Sheindlin used false instruments in a

fraud scheme to collect over 1.7 million dollars on a personal guaranty for his client on

September 5, 2018.”—is protected by the fair and true report privilege under Section 74 of the

New York Civil Rights Law unless an exception applies. In determining whether a statement is

defamatory, the New York Court of Appeals “has repeatedly instructed that courts must give the

disputed language a fair reading in the context of the publication as a whole.” Celle, 209 F.3d at

177 (internal quotation marks omitted). Here, the context surrounding this sentence makes clear

that Defendant was reporting on a judicial proceeding. The sentences immediately preceding the

sentence in question explicitly point out that Defendant is discussing a court case: “I am looking

for a litigator to take over the case of James H Brady v Gregory Sheindlin 20-cv-07047 that is

currently in the District Court in the Southern District of New York. Sheindlin is the son of

Judge Judy Sheindlin.” Sheindlin Decl., Ex. 4. Courts have noted that, for the fair report

privilege to apply, “the court filing, the court, or the jurisdiction” need not “be specifically



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identified in the article,” and rather “[t]he key question is whether the reader is able to determine

that the report is of a proceeding.” Kinsey, 991 F.3d at 180. Though Defendant’s advertisement

did not need to do so to fall within the privilege, the advertisement explicitly mentioned the

name of the court case, the jurisdiction in which it was filed, and even the docket number; with

this context, a reader of this advertisement would immediately understand the connection

between the case and the statement in question. Further, in the paragraph following this

sentence, the advertisement states: “There is currently a motion to dismiss that is expected to be

denied. There is also currently a request to the Court that it Order that I can file a criminal

complaint against the politically connected son of Judge Judy Sheindlin since it was already

proven that he committed a criminal act to steal the 1.7 million dollars.” Sheindlin Decl., Ex. 4.

Defendant’s discussion of the procedural posture and a pending motion in the case further

reinforces that a reader would understanding the sentence at issue to be a report on a judicial

proceeding.

       In addition, the statement in question is a “substantially accurate” recounting of

Defendant’s pleadings in Brady v. Sheindlin. “Comments that essentially summarize or restate

the allegations of a pleading filed in an action are the type of statement that fall within § 74’s

privilege.” Lan Sang, 951 F. Supp. 2d at 521. The sentence in question closely mirrors the

allegations of Defendant’s complaint in Brady v. Sheindlin. See, e.g., 20-cv-7047 (S.D.N.Y),

ECF No. 1 ¶ 2 (“As part of a common law fraud scheme, Gregory Sheindlin . . . used false

instruments . . . that had absolutely nothing to do with the enforceability of the Personal

Guarantees to fraudulently contain a judgment that, according to Mr. Sheindlin’s fraudulent

calculations grew to $1,705,535.71 by September 5, 2018.”); id. ¶ 23 (“The evidence . . . proves

conclusively that The Sheindlin Defendants committed a felony by using totally false




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instruments that had absolutely nothing to do with the Personal Guarantees to force the sale of

the Brady’s commercial apartment to pay IGS Realty and its principal Philippe Ifrah what grew

to be $1,705,535.71 by their calculations September 5, 2018.”); id. ¶ 42 (“A review of the

documents filed in the Article 52 Petition and Motion for Money Judgment proves again that the

Sheindlin Defendants used three different false instruments to steal over $1.7 million dollars [sic]

from James and Jane Brady on September 5, 2018.”); id. ¶ 57 (“Plaintiff now brings this lawsuit

to recover damages from the Sheindlin Defendants who committed a felony by using false

instruments that forced the sale of his commercial co-op apartment, destroying his life’s business

and his livelihood, and stole $1,705,535.71.”). Importantly, a person need not report both sides

of a disputed litigation to be entitled to the fair report privilege. Thus, there was no obligation on

Defendant to report Plaintiff’s vehement and forceful response to Plaintiff’s allegations. And

though the allegations in the pro se pleadings are phrased as having been already proven, if

Plaintiff took issue with the content of these pleadings, Plaintiff could have sought relief from

the court where the pleadings were filed including by “mov[ing] to strike from those pleadings

any ‘scandalous matter,’ Fed. R. Civ. P. 12(f), or for sanctions for presenting those pleadings for

‘any improper purpose, such as to harass,’ Fed. R. Civ. P. 11(b)(1).” Wexler, 374 F. Supp. 3d at

312 n.8.

       Similarly, the statement that “there are three under cover videos of Sheindlin from

September 5, 2018 as he was stealing the money that can be seen on YouTube if you type in the

name Gregory Sheindlin” is protected by Section 74 of the New York Civil Rights Law unless an

exception applies. “The absolute privilege under Section 74 also ‘extends to the release of

background material with regard to the case, so long as the statement is a substantially accurate

description of the allegation,’ including ‘where the description of the case is offered by a party’s




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legal counsel.’” Lan Sang, 951 F. Supp. 2d at 521 (quoting Fishof, 720 N.Y.S.2d at 505).

Defendant here references background material related to his case, and the statement in question

essentially parrots the same allegations from his pleadings. While the reference to the videos

does not appear in Defendant’s complaint in Brady v. Sheindlin, “[a] fair and true report admits

of some liberality.” Holy Spirit Ass’n for Unification of World Christianity, 399 N.E.2d at 1187;

see also Wexler, 374 F. Supp. 3d at 311 (“The challenged language . . . ‘should not be dissected

and analyzed with a lexicographer’s precision.’” (quoting Becher v. Troy Publi’g Co., Inc., 589

N.Y.S.2d 644, 646 (3d Dep’t 1992))). And this statement does not “suggest more serious

conduct than that actually suggested in the official proceeding.” Lan Sang, 951 F. Supp. 2d at

521. It instead reiterates the same allegation about Plaintiff and adds only that related videos can

be found on YouTube. The postings on YouTube themselves may be independently actionable

for defamation, see infra Section II.B.3, and Defendant’s attempt to bring more attention to them

here may speak to damages if a defamation claim for the YouTube postings is proven, see Ferri

v. Berkowitz, 561 F. App’x 64, 65 (2d Cir. 2014) (summary order) (“Under New York law, fact

finders are free to consider the ‘plaintiff’s standing in the community, the nature of defendant’s

statement made about the plaintiff, the extent to which the statement was circulated, the tendency

of the statement to injure a person such as the plaintiff, and all of the other facts and

circumstances in the case’ in order to determine ‘[f]air compensation” . . . .” (emphasis added)

(quoting N.Y. Pattern Jury Instr.-Civil 3:29)). But, barring any other exception, the Section 74

privilege extends to the statement referencing the YouTube videos in Defendant’s Craigslist

advertisement. 7



7
  Plaintiff does not explain how the second sentence—“The case has not broken in the news yet
since it is being suppressed for this politically connected man but it will break very soon because
the case is too scandalous to be ignored and over 7000 people have already learned about the

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       A question for the jury, however, remains regarding whether Defendant maliciously

instituted the proceedings in Brady v. Sheindlin to publicize the allegations contained therein.

The New York Court of Appeals has set forth a narrow exception that prevents Section 74’s

privilege from allowing “any person to maliciously institute a judicial proceeding alleging false

and defamatory charges, and to then circulate a press release or other communication based

thereon and escape liability by invoking the statute.” Williams, 246 N.E.2d at 337. Here, the

question for the jury is whether Defendant brought the Brady v. Sheindlin action “solely for the

purpose of later defaming” Plaintiff. Wexler, 374 F. Supp. 3d at 312 n.8. Plaintiff describes how

Defendant “commenced a litany of legal actions in which he impugned the motivations and

integrity of anyone involved with the adverse state-court decision.” Dkt. No. 131-14 ¶ 29; see

also id. ¶ 58 (“[I]t has become your habit to unjustifiably impugn the motivations and integrity

others with who you disagree.”). Plaintiff discusses Brady v. Sheindlin among this “litany” of

actions initiated by Defendant. Defendant, however, casts the Brady v. Sheindlin action as an

attempt to redress what he viewed as the damages he suffered from the IGS Realty judgment.

The question of whether Defendant brought that action solely to later defame Plaintiff is one for

the jury to resolve and implicates whether the Williams exception and the protection of Section

74 applies.

       Accordingly, because factual questions for the jury remain on this claim, both parties are

denied summary judgment as to this claim.




case on youtube.”—is defamatory as to Plaintiff. At most, it describes Plaintiff as a “politically
connected man,” but Plaintiff puts forth no argument for why this statement is a defamatory
statement of fact.

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               3.      Brady’s Statements on YouTube

       Plaintiff argues that the statements published by Defendant on YouTube constitute

defamation per se and falsely claim that Plaintiff stole $1.7 million from Defendant. Dkt. No.

129 at 3–4. Defendant responds that the statements are true and that therefore there is no

defamation claim. Dkt. No. 123 at 1–4.

       The statements published by Defendant on YouTube can be reasonably construed as

having more than one meaning—one of which carries a defamatory connotation and one of

which is not actionable under defamation—and, thus, the question is one for the jury to resolve.

See Lan Sang, 951 F. Supp. 2d at 518 (“Where an allegedly defamatory statement can be

reasonably construed as having more than one meaning, only some of which carry a defamatory

connotation, whether the statement is defamatory is a question of fact for the jury.”).

       The undisputed record on summary judgment establishes that the content posted to

YouTube by Defendant of and about Plaintiff could be construed as being defamatory per se.

These statements are defamatory per se because they charge Plaintiff with the commission of a

crime and impute fraud and dishonesty to Plaintiff. 8 See Celle, 209 F.3d at 180; Meloff, 240 F.3d

at 145. And “[a]n accusation of theft constitutes an allegation of a ‘serious crime’” so as to be

defamatory per se. O’Diah v. Yogo Oasis, 954 F. Supp. 2d 261, 275 (S.D.N.Y. 2013). For



8
  Defendant also posted on YouTube a number of comments that constitute expressions of
opinion rather than assertions of fact. See, e.g., Sheindlin Decl., Ex. 1 (“Shady Sheindlin needs
some time out time in a 6x8 cell.”); id. (“I certainly wont stop til Judge Judy’s lowlife son
Gregory is in prison.”); id. (“It’s sickening that Gregory Sheindlin is such a psychopath that
thought he could get away with this cruel scheme. 10 years minimum in prison is the medicine
he needs.”); id. (“What Gregory Sheindlin did was horrible, deranged and criminal.”); id., Ex. 2
(“Shady Sheindlin is the lowest of the low.”). But such “rhetorical hyperbole,” “imaginative
expression,” or other expressions of opinion cannot be reasonably interpreted to state facts that
can be proved false, Biro, 883 F. Supp. 2d at 460, and therefore, such statements of opinion, “no
matter how offensive, cannot be the subject of an action for defamation,” Ratajack, 178 F. Supp.
3d at 158.

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example, the title of the three YouTube videos uploaded by Defendant states, “Judge Judy’s son

Gregory Sheindlin stealing over $1.7 million dollars on September 5, 2018.” Sheindlin Decl.,

Exs. 1–3. The description field under each of the videos includes a sentence stating that

Sheindlin and another man “criminally used false statements to steal over $1.7 million dollars

from the Brady’s.” Sheindlin Decl., Exs. 1–3. After individuals posted comments under the

three videos, Defendant replied to a number of these comments. Sheindlin Decl., Ex. 1–3.

Among other replies, Defendant posted comments reiterating that Sheindlin stole $1.7 million

from him. See, e.g., Sheindlin Decl., Ex. 1 (“This politically connected man with the billionaire

mom thinks that he is untouchable and thinks that he will get away with his proven criminal

conduct that destroyed my livelihood in addition to stealing my life savings of over 1.7 million

dollars.”); id. (“It is undisputed and indisputable that this man stole over 1.7 million dollars thou

[sic] a fraud scheme he masterminded.”); id. (“Shady Sheindlin stole over 1.7 million dollars

from me and my wife on September 5, 2018 . . . .”); id. (“There are currently three videos online

and all of three [sic] show Judge Judy’s son Gregory Sheindlin stealing over 1.7 million dollars

from me and my wife through a fraud scheme.”); id. (“Its [sic] undisputed by Gregory Sheindlin

I was victimized When that [he] stole over 1.7 million dollars from me and my wife through a

fraud scheme he masterminded.”); id. (stating that Sheindlin “stole over 1.7 million dollars from

[Brady] through a fraud scheme”); id. (“Sheindlin stole the money.”); id., Ex. 3 (“[T]he back

story is that Judge Judy’s son Gregory Sheindlin stole my life savings of over 1.7 million dollars

and forced the sale of my family business through his implementation of a criminal fraud

scheme.”). Such statements accusing Plaintiff of stealing are defamatory per se.

       A subset of Defendant’s postings on YouTube about the Plaintiff, however, could also be

construed in such a way as to fall within the fair and true report privilege governed by Section 74




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of the New York Civil Rights Law. When considering whether particular statements are

defamatory, courts must give the disputed language a fair reading in context, must not to strain to

interpret such writings in their mildest or most inoffensive sense, and must construe the language

as it would be read and understood by the public to which they are addressed. See Celle, 209

F.3d at 177. “A key test courts have adopted to resolve whether a report qualifies for the fair

report privilege is whether the ordinary viewer or reader can determine from the publication

itself that the publication is reporting on a judicial proceeding.” Kinsey, 991 F.3d at 178–79; see

also Daleiden v. Planned Parenthood Fed’n of Am., 2022 WL 1013982, at *2 (2d Cir. Apr. 5,

2022) (summary order) (“A report qualifies for the privilege if the ordinary viewer or reader can

determine from the publication itself that the publication is reporting on a judicial proceeding”

(internal quotation marks omitted)).

       Defendant originally posted the videos on YouTube on August 13, 2020, and, later that

month, on August 30, 2020, Defendant filed the complaint in Brady v. Sheindlin. Considered in

context, the posts made after the Brady v. Sheindlin case was filed could be construed as a

“substantially accurate” report of judicial proceedings and thus privileged under Section 74. 9

Alongside Defendant’s statements about Plaintiff on YouTube, Defendant often directs

individuals to a lawsuit he filed against Plaintiff. See, e.g., Sheindlin Decl., Ex. 1 (“Please

follow the case James H Brady v. Gregory Sheindlin on Google to keep up with the case.”); id.

(“I am pressing to hold him accountable in Federal Court in the case of James H Brady v

Gregory Sheindlin.”); id. (“Google James H Brady v Gregory Sheindlin and you will see I am

pressing that the Judge Order that the criminal case against Gregory Sheindlin go before a



9
  The privilege is inapplicable to posts on YouTube before the Brady v. Sheindlin action was
filed because such posts cannot be considered a report of a judicial proceeding since the judicial
proceeding did not exist yet.

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Federal Grand Jury.”); id., Ex. 2 (“Every media company I could possibly think of knows about

these undercover tapes, the case of James H Brady v Gregory Sheindlin and the case of Gregory

Sheindlin v James H. Brady.”); id. (“If you google James H Brady v Gregory Sheindlin you will

see the case pop up.”); id. (“Follow James H Brady v Gregory Sheindlin that is being fought in

New York District Court.”). And, as discussed supra Section II.B.2, the statements in question

about Plaintiff essentially summarize or restate the allegations of the pleadings filed in Brady v.

Sheindlin. On this record, the Court cannot say as a matter of law that the privilege does not

apply because it is for the jury to decide “if the context in which the statement[s] [are] made

makes it impossible for the ordinary viewer or reader to determine whether the publication was

reporting on a judicial proceeding.” Kinsey, 991 F.3d at 179. Additionally, as discussed supra

Section II.B.2, even if the posts were understood to be a reporting on a judicial proceeding, a

factual dispute exists over whether the Williams exception applies.

       Defendant argues that the statements posted to YouTube are true and therefore cannot

support a defamation claim. Dkt. No. 123 at 1–4. Defendant contends that “[t]he three YouTube

[v]ideos truthfully charge Sheindlin with fraudulently misrepresenting the outcome of a June 26,

2015 Jury trial” and that “[t]he three YouTube video[s] truthfully make clear Sheindlin stole the

1.7 million dollars from Brady and destroyed his life by criminally misrepresenting the June 26,

2015 Jury Interrogatory Sheet findings to unlawfully obtain a financial judgment on May 31,

2017 by fraudulently ‘implying’ that the jury had found the personal guarantees enforceable.”

Id. at 2. Defendant asserts that Plaintiff and Plaintiff’s counsel admitted that the issue of

personal guarantees was not part of the June 26, 2015 jury interrogatory sheet. Id. at 3.

Defendant quotes a portion of deposition testimony wherein Plaintiff’s counsel appears to state

that the jury interrogatory sheet “says nothing about a personal guarantee.” Id. Defendant




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construes this response to be dispositive and interprets it to show that “the jury never ruled in

IGS Realty’s favor on the personal guarantee contract,” meaning that the resulting judgment was

fraudulent. Id.

       Defendant is incorrect. While falsity is a required element in a claim for defamation and

“truth is an absolute, unqualified defense,” Conti, 545 F. Supp. 3d at 271, Defendant’s evidence

does not establish that the statements at issue are true. In fact, Defendant raised the same

argument before the Second Circuit in Brady v. Sheindlin. See 2021 WL 5312995, *2 (2d Cir.

Nov. 16, 2021) (“Brady claims that because the interrogatories the state court gave the jury did

not specifically mention his personal guarantees or his affirmative defenses, the state court

therefore never determined the enforceability of those guarantees or ruled on those affirmative

defenses, and that [Sheindlin and the Sheindlin Law Firm] thus ‘falsified’ the jury verdict.

Repeatedly, Brady’s briefs advert to a May 4, 2021 deposition of Sheindlin in [a] separate case,

in which Sheindlin stipulates to the text of the state court jury interrogatories.”). The Second

Circuit determined that the “stipulation does not establish (as Brady claims) that Brady’s

personal guarantees were unenforceable or that the state court failed to consider Brady’s

affirmative defenses.” Id. The Second Circuit continued, “[t]o the contrary, the state court

properly and explicitly instructed the jury on both Brady’s affirmative defenses and the personal

guarantees,” and concluded that “Brady’s central argument is thus entirely without merit.” Id.

The Court follows the Second Circuit’s analysis of this identical issue. Defendant’s argument

based solely on the stipulation that the jury interrogatories did not mention the personal

guarantees in no way shows that Plaintiff stole $1.7 million from Defendant. And aside from

this argument, there is no evidence in the record to contradict Plaintiff’s evidence that these




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statements accusing Plaintiff of stealing are false. Plaintiff’s argument purportedly based on

truth, therefore, fails.

        In summary, because factual questions for the jury remain on whether the fair report

privilege applies, neither party is entitled to summary judgment on this defamation claim.

                                                ***

        It may seem perverse that a party who has been sanctioned in various courts, subject to

two filing injunctions in this District, and found to have filed “a long line of vexatious, harassing,

and duplicative lawsuits,” Brady v. IGS Realty Co. L.P., 2020 WL 6049649, at *4, could

nonetheless fall within the protection of the related privileges covering statements made in

litigation and fair reports of those proceedings. But the purpose of the litigation privilege is

“predicated upon the public interest in the freedom of participants in litigation to ‘speak with that

free and open mind which the administration of justice demands,’” D’Annunzio, 876 F. Supp. 2d

at 217 (quoting Youmans v. Smith, 47 N.E. 265, 268 (N.Y. 1897)), and the purpose of the fair

report privilege is “to encourage the dissemination of information concerning the judicial branch

of government and thereby serve the public interest in having proceedings of courts of justice

public, not secret, for the greater security thus given for the proper administration of justice,” id.

(internal quotation marks omitted) (quoting Gurda v. Orange Cnty. Publ’ns Div. of Ottaway

Newspapers, Inc., 439 N.Y.S.2d 417, 423–24 (2d Dep’t 1981) (Mollen, J., dissenting), rev’d for

reasons stated in this dissent, 436 N.E.2d 1326 (1982)). Together, these privileges help channel

disputes between parties into the courts so that the courts may determine who prevails and who

does not and ultimately facilitate the administration of justice.

                                          CONCLUSION

        Brady’s motion for summary judgment is GRANTED IN PART and DENIED IN PART.

Sheindlin’s motion for summary judgment is DENIED. As stated in the Court’s previous order,


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a telephonic case management conference is scheduled for April 29, 2022 at 3:00 p.m. Parties

are directed to dial into the Court’s teleconference line at 888-251-2909 and use access code

2123101.




       SO ORDERED.


Dated: April 7, 2022                              __________________________________
       New York, New York                                   LEWIS J. LIMAN
                                                        United States District Judge




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